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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                        Case No. 21-cr-117 (TFH)
                           )
RYAN NICHOLS,              )
                           )
                Defendant. )

                              MOTION FOR EXTENSION OF
                                       TIME

        Defendant Ryan Nichols, by and through undersigned counsel respectively moves this

Court for an extension of time of three (3) business days within which to file a reply to the

Government’s response to the defense motion for disclosure of exculpatory information. The

Government has no objections to this request. This request would make the reply due July 12,

2023.

        Undersigned counsel learned upon his arrival overseas (last night) that he can no

longer access evidence.com because he is now “geo-limited.” In order to determine whether a

reply is necessary and prudent, undersigned counsel must acquire access to evidence.com. In

the interim, undersigned counsel was also contacted by two reporters, Joseph Hanneman and

Steven Baker, who provided new information about a Metropolitan Police Department




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 supervisor who has featured prominently in prior defense motions. Undersigned counsel

 would appreciate the opportunity to evaluate this new information with access to

 evidence.com so that he can determine if it should appropriately included in the reply.

       Undersigned counsel attempted and failed to file this from his overseas location and has

 accordingly requested that Mr. McBride file on his behalf.




Dated July 7, 2023                                  Respectfully submitted,


                                                    /s/ Bradford Geyer
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                                CERTIFICATE OF SERVICE

I hereby certify on this 7th day of July 2023, a copy of the foregoing was served upon all parties

as forwarded through the Electronic Case Filing (ECF) System.

                                        /s/ Brad Geyer
                                       Bradford L. Geyer




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